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UNlTED sTATEs DIsTRlCT COURT ‘ 7 7
FOR THE wEsTERN DIsTRICT 0F TENNESSEE 53 1 ad .`-’@tt t, :
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THE CLARK CONSTRUCTION GROUP, ix l di
[NC.,

Plaintiff,

v. Civil Aetion No. 01 -2478-DB

INC., CAPITOL INDEMNITY CORP.,
INVESTORS INSURANCE CO. OF
AMERICA, FIRST SPECIALTY
INSURANCE, LEXINGTON INSURANCE
CO., and RLI INSURANCE CO.,

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EAGLE AMALGAMATED SERVICES, )
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Defendants. )

 

AGREED ORDER OF DISMISSAL WITHOUT PREJUDICE

 

By agreement of the parties, and for good cause shown,
IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all claims asserted by
Eag]e Amalgarnated Services, Inc. against ICI Explosives USA, Inc. in the above matter are

dismissed Without prejudice, and each party tc bear their own costs, attorney fees and expenses

tr ls so ORDERED this al f day of Q FMLF ,2005.

     

The onorable Berni Bouie Donald
Unite States District Judge

Thts document entered on the docket sheet
thh Ftute 58 and/or 79(2) FHCP on

 

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Approved for Entry:

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StevenM. Crawford /
Attorney for Clark

Z/ Z faa

Wirtiam L Bomar' (#11998)
Attorney for Eagle Amalgamated

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 223 in
case 2:01-CV-02478 Was distributed by faX, mail, or direct printing on
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